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 8                                  UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
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     MATTHEW CAMPBELL and MICHAEL                Case No. 4:13-cv-05996-PJH-SK
11   HURLEY, on behalf of themselves and all
     others similarly situated,                  [PROPOSED] FINAL JUDGMENT
12
                      Plaintiffs,
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     v.
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     FACEBOOK, INC.,
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                      Defendant.
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                                                                    [PROPOSED] FINAL JUDGMENT
                                                                    CASE NO. 4:13-CV-05996-PJH-SK
       Case 4:13-cv-05996-PJH Document 256 Filed 08/24/17 Page 2 of 2



 1          Judgment is hereby entered consistent with the Court’s Order Granting Final Approval To
 2   Class Action Settlement; Granting Motion For Attorneys' Fees And Service Awards (Dkt. No.
 3   251), and Order Granting Final Approval To Class Action Settlement As Modified, dated August
 4   18, 2017 (Dkt. No. 252). This document constitutes a judgment and a separate document for
 5   purposes of Federal Rule of Civil Procedure 58(a).
 6

 7   JUDGMENT APPROVED AS TO FORM BY:

 8
     Dated: ____________________                          __________________________________
 9                                                        HONORABLE PHYLLIS J. HAMILTON
                                                          UNITED STATES DISTRICT JUDGE
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     JUDGMENT ENTERED: ________________, 2017
13   By: CLERK OF THE UNITED STATES DISTRICT COURT
14   FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                                                          [PROPOSED] FINAL JUDGMENT
                                                  -1-                     CASE NO. 4:13-CV-05996-PJH-SK
